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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

MARK ALVAREZ, ) Case No. 5:10-cv-01477-VAP-PTBY)
)
Plaintiff, ) FIRST AMENDED COMPLAINT
) FOR VIOLATION
vs. ) OF FEDERAL FAIR DEBT
) COLLECTION PRACTICES ACT,
ACCOUNT MANAGEMENT _) ROSENTHAL FAIR DEBT
SERVICES; and RICHARD MOSS, ) COLLECTION PRACTICES ACT,
an individual, ) AND INVASION OF PRIVACY
)
Defendant. )
)

 

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
§1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection

Practices Act, Cal Civ Code §1788, et seq. (hereinafter “RFDCPA”), both of

7 ORIGINAL
Todd M. Friedman (216752)
Darin Shaw (251037) "FILED
Law Offices of Todd M. Friedman, P. C. CERI, US. DISTRICT COURT
369 S. Doheny Dr. #415 . .
Beverly Hills, CA 90211 NOV 1 2 palo
Phone: 877 206-4741
Fax: 866 633-0228 CENTRAL ORTRGT OF SxLForhn
tfriedman@attorneysforconsumers.com 4
Attorney for Plaintiff

 

 

 

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which prohibit debt collectors from engaging in abusive, deceptive, and unfair

practices. Ancillary to the claims above, Plaintiff further alleges claims for

First Amended Complaint - 1

 

 

 
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invasion of privacy arising from intrusion upon seclusion and public disclosure of
private facts.
Il. JURISDICTION
2. Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).
Ill. PARTIES

3, Plaintiff, Mark Alvarez (“Plaintiff”), is a natural person residing in
San Bernardino County in the state of California, and is a “consumer” as defined
by the FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ
Code §1788.2(h).

4. At all relevant times herein, Account Management Services
(“Defendant AMS”) was a company engaged, by use of the mails and telephone,
in the business of collecting a debt from Plaintiff which qualifies as a “debt,” as
defined by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ
Code §1788.2(f). Defendant AMS regularly attempts to collect debts alleged to
be due another, and therefore is a “debt collector” as defined by the FDCPA, 15
U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).

5. At all relevant times herein, Defendant, Richard Moss (“Defendant

Moss”) was owner of Defendant AMS. As an officer, shareholder and/or director

 

 

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of Defendant AMS, Defendant Moss was responsible for the overall success of

the company. Defendant Moss is a “debt collector” as defined by the FDCPA, 15

First Amended Complaint - 2

 

 
 

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Ne ‘ , a

U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c): he materially
participated in collecting debt by occupying a position of critical importance to
Defendant AMS’s business; as the owner of Defendant AMS, he exercised
control over the affairs of a debt collection business; and he was regularly
engaged, albeit more often indirectly than directly, in the collection of debts
through his involvement in Defendant AMS’s affairs and Defendant Moss
continued to play a key role in maintaining and expanding Defendant AMS’s debt
collection activities throughout the time in question.
IV. FACTUAL ALLEGATIONS

6. At various and multiple times prior to the filing of the instant
complaint, including within the one year preceding the filing of this complaint,
Defendant AMS contacted Plaintiff in an attempt to collect an alleged outstanding
debt.

7. On or about July, 2010, Monica Patton, an employee of Defendant
AMS, called Plaintiff's employer and asked to verify Plaintiff's employment.
Upon verification, she hung up.

7. On or about July, 2010, Plaintiff received a call from Monica Patton,

an employee of Defendant AMS. During that call, Monica told Plaintiff that she

 

 

 

had verified his employment, so Defendant AMS knows Plaintiff has money

coming in to pay his bills.

First Amended Complaint - 3

 

 
 

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8. Monica Patton, an employee of Defendant AMS, left a voicemail for
Plaintiff wherein she states she had just called Plaintiff's employer to verify
employment and that Plaintiff's employer had given her Plaintiff’s cell phone
number, which she “already had.” Monica stated that it “kinda changes
everything this new information.” Monica further stated that she wouldn’t hold
on to Plaintiff's file much longer and that it would probably leave her desk
tomorrow.

9. Olga, an employee of Defendant AMS, left a voicemail for Plaintiff
wherein she did not identify who her employer was or the reason for her call.
Olga merely states she “needs” Plaintiff to return her call today.

10. Plaintiff received an email from Olga Gomez, an employee of
Defendant AMS, wherein she requests he contact her office today. The email
contains no further information. |

11. Defendant AMS’s conduct violated the FDCPA and the RFDCPA in
multiple ways, including but not limited to:

a) In connection with an attempt to collect an alleged debt
from Plaintiff, contacting a third party for purposes
other than obtaining location information, including, but
not limited to, calling Plaintiff's employer to allegedly

verify Plaintiff's employment and obtaining his cell
phone number, which Defendant already had (§1692b &

 

 

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§1692c(b));

b) In connection with an attempt to collect an alleged debt
from Plaintiff, providing the identity of Defendant to a
third party without such information being expressly

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requested, including, but not limited to, calling
PlaintifPs employer to allegedly verify Plaintiff's
employment and obtaining his cell phone number,
which Defendant already had (§1692b(1) & §1692c(b));

c) Disclosing to a third party the existence of the debt
allegedly owed by Plaintiff, including, but not limited
to, calling Plaintiff's employer to allegedly verify his
employment (§1692b(2) & §1692c(b));

d) Communicating with a single third party more than
once in connection with an attempt to collect an alleged
debt from Plaintiff (§1692b(3) & §1692c(b));

e) Repeatedly contacting Plaintiff at his/her place of
employment after being informed that such calls are
inconvenient to Plaintiff and violate the policy of
Plaintiff's employer (§ 1692c(a)(1)(3));

f) Using false, deceptive, or misleading representations or
means in connection with collection of a debt
(§1692e));

g) Falsely representing the character, amount, or legal
status of Plaintiff's debt (§1692e(2)(A));

h) Failing to notify Plaintiff during the _ initial
communication with Plaintiff that the communication
was an attempt to collect a debt and any information
obtained would be used for that purpose (§ 1692e(11));
and

i) Failing to notify Plaintiff during each collection contact
that the communication was from a debt collector
($1692e(11)).

Defendant Moss as owner of Defendant AMS is directly responsible
for Defendant AMS’s violations.
Defendant AMS’s aforementioned violations of the FDCPA and

REDCPA also constitute_an intentional intrusion into Plaintiffs private places_

 

 

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and into private matters of Plaintiff’s life, conducted in a manner highly offensive

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' |/to a reasonable person. Plaintiff had a subjective expectation of privacy that was
objectively reasonable under the circumstances.

4 13. Defendant’s aforementioned disclosure of facts regarding Plaintiff's
debt to third parties constitutes a public disclosure of a private fact not of
legitimate public concern. Defendant’s disclosures were highly offensive to a

reasonable person.

10 14. As a result of the above violations of the FDCPA, RFDCPA and

11 |jinvasion of privacy, Plaintiff suffered and continues to suffer injury to Plaintiffs

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feelings, personal humiliation, embarrassment, mental anguish and emotional
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14 || distress, and Defendant AMS and Defendant Moss (herein after “Defendants”’)

'° |/are liable to Plaintiff for Plaintiff's actual damages, statutory damages, and costs

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17 || and attorney’s fees.

18 COUNT I: VIOLATION OF FAIR DEBT
19 COLLECTION PRACTICES ACT

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, 15. Plaintiff reincorporates by reference all of the preceding paragraphs.

22 PRAYER FOR RELIEF

* WHEREFORE, Plaintiff respectfully prays that judgment be entered

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»5 || against the Defendants for the following:

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A. — Declaratory judgment that Defendants’ conduct
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violated the FDCPA;

B. Actual damages;

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First Amended Complaint - 6

 

 

 
 

 

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C. Statutory damages;
D. Costs and reasonable attorney’s fees; and,

E. — For such other and further relief as may be just and proper.

COUNT II: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

16. Plaintiff reincorporates by reference all of the preceding paragraphs.
| 17. To the extent that Defendants’ actions, counted above, violated the
RFDCPA, those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendants for the following:

A. Declaratory judgment that Defendants’ conduct
violated the RFDCPA;

B. Actual damages;

C Statutory damages for willful and negligent violations;
D. Costs and reasonable attorney’s fees,
E

For such other and further relief as may be just and proper.

COUNT III: COMMON LAW INVASION OF PRIVACY BY INTRUSION
AND INVASION OF PRIVACY BY PUBLICATION OF PRIVATE FACTS

18. Plaintiff reincorporates by reference all of the preceding paragraphs.

PRAYER FOR RELIEF

 

 

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WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendants for the following:

First Amended Complaint - 7

 
 

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A. Actual damages
B. Punitive Damages; and,

C. For such other and further relief as may be just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 8" day of November, 2010.

Todd M. Friedman (216752)

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Attorney for Plaintiff

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First Amended Complaint - 8

 

 
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UNITED STATES DISTRICT COURT 8
CENTRAL DISTRICT OF CALIFORNIA

MARK ALVAREZ CASE NUMBER
5:10s0v-01477-VAP PTB «)

PLAINTIFF(S)
Vv.

ACCOUNT MANAGEMENT SERVICES; and
RICHARD MOSS, an individual,

 

SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S); ACCOUNT oo SERVICES; and RICHARD MOSS, an individual;

 

 

jf ap
A lawsuit has been filed against y you. Sal Orr vy. a Up

(aL
Within__21 _ days after service of this summons mol hG dou i the day you received it), you
must serve on the plaintiff an answer to the attached 0 complaint % (USER @ amended complaint

C counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rule Bic il Procedure. The answer

or motion must be served on the plaintiff’s attorney, Todd M. Friedman , whose address is
Law Offices of Todd M. Friedman, 369 S. Doheny Dr., #415, Beverly Hills,CA 90211 _ If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

 
 
  

TERRY NAFIS]
Clerk, U.S. District Court
Ty ASAE
Dated: / Uy. ALg < By: L. ADAMS

 

 

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[Use 60 days if the defendant is the United States or a United States agency, or is an Ly or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

 

CV-01A (12/07) SUMMONS

 
